Case 2:24-cv-12195-DML-KGA ECF No. 13, PageID.107 Filed 10/09/24 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

ELG, a minor child by next friend,
LATOREYA TILL,

                       Plaintiffs,                             Case Number 24-12195
v.                                                             Honorable David M. Lawson

KENNETH KING, UNIVERSAL PROTECTION
SERVICES, JOHN DOE COURT OFFICER,
and JANE DOE COURT OFFICER,

                  Defendants.
________________________________________/

               ORDER GRANTING MOTION TO APPOINT NEXT FRIEND

       The matter is before the Court on Latoreya Till’s motion to be appointed next friend for

her minor child, presently denoted as ELG. Till brings this civil rights suit on behalf of ELG,

which grows out of allegations that ELG allegedly was mistreated during a fieldtrip to Michigan’s

36th District Court. Federal Rule of Civil Procedure 17(c) allows a minor without a guardian or

conservator to sue by a next friend or by guardian ad litem. Under Rule 17, “[t]he court must

appoint a guardian ad litem — or issue another appropriate order — to protect a minor . . . who is

unrepresented in an action.” Fed. R. Civ. P. 17(c)(2). Till indicates that she is ELG’s mother, and

the Court finds that appointing her as ELG’s next friend will protect ELG’s interests.
       Accordingly, it is ORDERED that Latoreya Till’s motion to appoint herself as next friend

for ELG (ECF No. 12) is GRANTED.

       It is further ORDERED that Till is APPOINTED as next friend of ELG for the purpose

of prosecuting this lawsuit, and she will be responsible for prosecuting the case on behalf of the

minor plaintiff and responsible for the costs of the action.


                                                               s/David M. Lawson
                                                               DAVID M. LAWSON
                                                               United States District Judge
Dated: October 9, 2024
